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Exhibit 63
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

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In Re: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION,

Plaintiff,
Case No.
07-5944 SC
MDL No. 1917

This Document Relates to:

ALL ACTIONS,

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VIDEOTAPED DEPOSITION OF LISA REYNOLDS

FRIDAY, APRIL 13, 2012

REPORTER: BALINDA DUNLAP, CSR 10710, RPR, CRR, RMR

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1 Q. And how did you receive the product?

2 A. Took it home.

3 QO. You took it home with you?

4 A. Uh-huh. Yes, excuse me.

5 Q. How do you know that your television

6 contained a CRT?

7 A. It seems obvious the way the TV is.

8 QO. Obvious how so?

9 A.. The way the TV is built, that it is the

10 older-style TV that's deep.

11 Q. Did you ever open the TV to confirm that
12 it had a CRT inside of it?
13 A. No.
14 Q. Did you ever read any technical
15 specifications of the television to confirm that
16 there was a CRT contained in your television?
17 A. I don't remember.
18 Q. Do you know who manufactured the CRT
19 contained in your first JVC television? |
20 A. No.
21 Q. Do you know how much JVC paid for the CRT
22 contained in that television?
23 A. No.
24 Q. Do you know when they purchased the CRT
25 that went into that television?
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Q. Have you read any technical specifications
related to the television that state that it
contains a CRT?

A. I usually read everything that comes with
a new purchase.

Q. Okay. But do you recall reading something
that stated that the television contained a CRT?

A. No.

MR. GRALEWSKI: Just for the record, I
just want to clarify. When counsel asks you
questions, you are not permitted as part of your
answer to tell her what you and your attorneys
spoke about, or what your attorneys told you.

THE WITNESS: Okay.

MR. GRALEWSKI: Okay.
THE WITNESS: Thank you.

Q. BY MS. BYRD: I believe you stated that
the second television was also a JVC; is that
correct?

A. Yes.

Q. Do you know where the manufacturer of your
television purchased the CRT that was contained
inside?

A. No.

Q. Do you know who manufactured the CRT that

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was inside of your second television?

A. No.

QO. Do you know whether the CRT contained in
your television was manufactured by a defendant in
this litigation?

A. Yes.

Q. And how do you know that?

A. Because my attorneys have told me so. Am
I allowed to say that.

MR. GRALEWSKI: I should have interposed
an objection. To the extent you can answer that
question based on your knowledge, you can answer.
But otherwise, you are instructed not to disclose
any communications with counsel.

THE WITNESS: Okay.

Q. BY MS. BYRD: So Ms. Reynolds, I believe
that you just stated that you know that the CRT
contained in your second JVC television was
manufactured by one of the defendants in this
action; is that right?

A. I believe it to be true.

Q. And why do you believe it to be true?

MR. GRALEWSKI: Same instruction. To the
extent you can answer based on your own knowledge,

you can. But you're instructed not to disclose any

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